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                           IN THE UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

  In Re:                                              §
                                                      §                 Case No. 22-10134
  Sky Inn Operation, Inc.,                            §                 (Jointly Administered)
  and Austin Airport Suits, LLC,                      §
                                                      §                 Chapter 11
  Debtors.1                                           §

                                  APPLICATION FOR FINAL DECREE

           THIS PLEADING REQUESTS RELIEF THAT MAY BE ADVERSE TO
           YOUR INTERESTS.

           IF NO TIMELY RESPONSE IS FILED WITHIN TWENTY ONE (21)
           DAYS FROM THE DATE OF SERVICE, THE RELIEF REQUESTED IN
           THE MOTION MAY BE GRANTED WITHOUT A HEARING BEING
           HELD.

           A TIMELY FILED RESPONSE IS NECESSARY FOR A HEARING TO
           BE HELD.
           .

  TO THE HONORABLE U.S. BANKRUPTCY JUDGE:

           COME NOW Sky Inn Operation, Inc (“Sky Inn”) and Austin Airport Suites, LLC

  (“AAS”) (collectively, “Debtors”), the reorganized debtors in the above captioned and numbered

  bankruptcy cases, to file this Application for Final Decree (“Application”), and respectfully show

  the Court as follows:

           1.      These jointly administered Bankruptcy Cases were commenced on February 28,

  2022, when the Debtors filed their voluntary petitions under Chapter 11 of the Bankruptcy Code.




  1
   The Debtors in this jointly administered bankruptcy case are Sky Inn Operation, Inc. d/b/a Staybridge Suites
  Austin Airport, a Texas corporation (EIN XX-XXXXXXX) and Austin Airport Suites, LLC, a Texas limited liability
  company (EIN XX-XXXXXXX).



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         2.      On January 11, 2023, the Court signed and docketed the Order Confirming

  Debtors’ Third Amended Chapter 11 Plan of Reorganization (the “Confirmation Order”)

  [Doc#148].

         3.      All conditions precedent to the Occurrence of the Effective Date, as defined in the

  Confirmation Order and in the Plan of Reorganization, which is attached to the Confirmation

  Order (the “Plan”), have been satisfied. Debtors filed a Notice of Final Post-Effective Date

  Budget and Occurrence of Effective Date of Chapter 11 Plan of Reorganization on April 20,

  2023 [Do#175], which established May 5, 2023, as the Effective Date of the Plan.

         4.      Debtors have paid all administrative claims or have made provisions for payment

  of any unpaid administrative claims. Kell C. Mercer and Kell C. Mercer, P.C., co-counsel for

  Debtors, filed its final fee application on May 26, 2023. C. Daniel Roberts and C. Daniel

  Roberts, PC, co-counsel for Debtors, filed its final fee application on May 31, 2023. Debtors do

  not anticipate any objections to the pending fee applications, and absent any such objection, the

  fee applications should be granted before the 21-day negative notice for this Application has

  expired. There are sufficient funds in the bankruptcy estate to pay the amounts requested in the

  fee applications as administrative claims per the Plan.

         5.      Debtors have begun making monthly payments to Classes 1 through 6, as required

  by the Plan and are current on monthly payments. In addition, Debtors have made the lump sum

  payments of $1,000,000.00 to RSS COMM2015-DC1-TX SIO, LLC (“RSS”), the secured

  creditor, and $296,749.43 to Holiday Hospitality Franchising, LLC in connection with

  assumption of the hotel licensing agreement. Debtors will continue to make monthly payments

  to creditors as required under the Plan.

         5.      Debtors are current on payments to the United States Trustee. Within 14 days



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  from the entry of an order granting this Application, Debtors will calculate the final amount

  owed to the US Trustee and remit a check for this amount as well. In addition, any unfiled

  reports will be filed within 14 days of the entry of an order granting this Application.

  Debtors would like to end the future accrual of fees to the United States Trustee by having a

  final decree entered as soon as possible.

         6.     Debtors do not anticipate filing any further litigation in this Court, including

  any chapter 5 causes of action. Debtors are requesting that the case be closed subject to

  reopening should any adversaries be filed.

         7.     Fed. R. Bankr. P. 3022 provides that a final decree closing a case shall

  be entered "(a)fter an estate is fully administered in a chapter 11 proceeding." All

  outstanding matters relating to the Plan will be resolved after the pending fee

  applications of co-counsel are granted, and it will then be appropriate to enter a Final

  Decree.

         8.     A Chapter 11 case should be closed when the Debtor’s Plan has been

  “substantially consummated.” Section 1101(2) of the Bankruptcy Code defines “substantial

  consummation: for Chapter 11 purposes as:

                (A)     the transfer of all or substantially all of the property proposed by

                the plan to be transferred;

                (B)     the assumption by the debtor or by the successor to the debtor

                under the plan of the business or of the management of all or substantially

                all of the property dealt with by the plan; and

                (C)     the commencement of distribution under the plan.




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         9.        Debtors have substantially consummated the confirmed Plan as contemplated by

  11 U.S.C. §1101(2).        As the Reorganized Debtors, they have retained ownership of the

  Bankruptcy Estate property which is being used in the operation of the business and which is

  generating the revenue from which creditors are being paid. As noted above, Debtors have made

  substantial distributions under the Plan and continue to make monthly payments as required by

  the Plan. As noted above, Debtors do not anticipate filing any further claims objections. All the

  assets of the estate have been administered. Any payments due to the Office of the United States

  Trustee will be made prior to the closing of the bankruptcy case.

         10.       Based on the foregoing, the instant case is ready for a final decree so that the case

  may be closed.

         WHEREFORE, PREMISES CONSIDERED, Debtors, Sky Inn Operation, Inc and Austin

  Airport Suites, LLC hereby respectfully pray that the Court enter a final decree in the

  Bankruptcy Cases and for such other and further relief as this Court may deem just.

                                          Respectfully submitted,

                                                 C. Daniel Roberts, PC
                                                 PO Box 6368
                                                 Austin, Texas 78762
                                                 Telephone: (512) 494-8448
                                                 droberts@cdrlaw.net

                                                 By: /s/ C. Daniel Roberts
                                                 C. Daniel Roberts
                                                 Texas Bar No. 16999200

                                                 ATTORNEY FOR SKY INN
                                                 OPERATION, INC. D/B/A STAYBRIDGE
                                                 SUITES AUSTIN AIRPORT AND
                                                 AUSTIN AIRPORT SUITES, LLC



                                     CERTIFICATE OF SERVICE



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                 By my signature above, I, C. Daniel Roberts, hereby certify that on June 1, 2023,
  a true and correct copy of the foregoing document was served via the Court’s CM/ECF noticing
  system or regular first-class mail on the following, in addition to those parties listed on the
  attached creditor matrices:


  Sky Inn Operation, Inc
  PO Box 18865
  Austin, Texas 78760

  and

  Austin Airport Suites, LLC
  1611 Airport Commerce Drive
  Austin, Texas 78741

  JOINTLY ADMINISTERED DEBTORS

  U.S. Trustee
  903 San Jacinto Blvd., Room 230
  Austin, Texas 78701




                                                 5
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Label Matrix for local noticing      Austin Airport Suites,
                                                         10LLC            Sky Inn Operation, Inc
0542-1                                               1611 Airport Commerce Dr.                            PO Box 18865
Case 22-10134-smr                                    Austin, TX 78741-4534                                Austin, TX 78760-8865
Western District of Texas
Austin
Tue Apr 18 13:24:46 CDT 2023
U.S. BANKRUPTCY COURT                                Armando Batarse Cardenas                             Armando P Batarse Mena
903 SAN JACINTO, SUITE 322                           1611 Airport Commerce Dr.                            1611 Airport Commerce Dr.
AUSTIN, TX 78701-2450                                Austin, TX 78741-4534                                Fracc. Valle Morelos
                                                                                                          Monterrey, Mexico
                                                                                                          Austin, TX 78741-4534

Carlos Enrique Batarse                               City of Austin DBA Austin Energy                     Holiday Hospitality Franchising, LLC
611 Airport Commerce Dr.                             4815 Mueller Blvd                                    c/o Alston & Bird LLP
Austin, TX 78741                                      Austin, TX 78723-3573                               Attn: Leib M Lerner
                                                                                                          333 S. Hope St 16th FL
                                                                                                          Los Angeles CA 90071-1410

Jonathan Schlact                                     Michael Anthony Shaw                                 Oracle America, Inc.
Rialto Capital Advisors LLC                          Jones Walker                                         c/o Shawn M. Christianson, Esq.
200 S Biscayne Blvd #3550                            11 North Water St #1200                              Buchalter PC
Miami FL 33131-2379                                  Mobile AL 36602-3809                                 425 Market St., Suite 2900
                                                                                                          San Francisco, CA 94105-2491

Patricia Mena de Batarse                             RSS COMM2015-DC1 - TX SIO, LLC                       RSS COMM2015-DC1-TX SIO, LLC
1161 Commerce Dr.                                    200 S Biscayne Blvd #3550                            c/o Michael A. Shaw
Austin TX 78741                                      Miami FL 33131-2379                                  Jones Walker LLP
                                                                                                          811 Main Street, Suite 2900
                                                                                                          Houston, TX 77002-6116

RSS COMM2015-DC1-TX SIO, LLC                         Royal Cup Coffee                                     Travis County c/o Jason A. Starks
c/o Stephen P Drobny, Jones Walker LLP               160 Cleage Dr                                        P.O. Box 1748
201 S Biscayne Blvd #3000                            Birmingham, AL 35217-1461                            Austin, Texas 78767-1748
Miami FL 33131-4330


United States Trustee - AU12                         C. Daniel Roberts                                    Kell C. Mercer
United States Trustee                                C. Daniel Roberts & Associates, P.C.                 Kell C. Mercer, P.C.
903 San Jacinto Blvd, Suite 230                      1602 East Cesar Chavez                               901 S MoPac Expy, Bldg 1, Suite 300
Austin, TX 78701-2450                                Austin, TX 78702-4456                                Austin, TX 78746-5883




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Austin Airport Suites, LLC                        (d)Holiday Hospitality Franchising, LLC              End of Label Matrix
1611 Airport Commerce Dr.                            c/o Alston and Bird LLP                              Mailable recipients     20
Austin, TX 78741-4534                                Attn: Leib M. Lerner                                 Bypassed recipients      2
                                                     333 S. Hope Street, 16th Fl.                         Total                   22
                                                     Los Angeles, CA 90071-1410
           22-10134-smr Doc#183 Filed 06/01/23 Entered 06/01/23 23:53:48 Main Document Pg 7 of
Label Matrix for local noticing      Austin Airport Suites,
                                                         10LLC            U.S. BANKRUPTCY COURT
0542-1                                1611 Airport Commerce Dr.          903 SAN JACINTO, SUITE 322
Case 22-10135-smr                     Austin, TX 78741-4534              AUSTIN, TX 78701-2450
Western District of Texas
Austin
Tue Apr 18 13:25:56 CDT 2023
1st FP Austin LLC                     ABC Home & Commercial Servicess    AT&T Global
12414 Laws Rd                         9475 E. Hwy 290                    PO Box 5091
Buda, TX 78610-9606                   Austin, TX 78724-2303              Carol Stream, IL 60197-5091



Alamo Austin Air                      Alamo Leasing Co., Inc             American Hotel Register Company
819 Jim Davis Place                   PO Box 414438                      544 LAKEVIEW PARKWAY SUITE 300
Austin, TX 78736                      Boston, MA 02241-4438              VERNON HILLS, IL 60061-1826



American Hotel Register Company       Armando Batarse Cardenas           Austin Police Department
PO Box 206720                         1611 Airport Commerce Dr.          PO Box 684279
Dallas, TX 75320-6720                 Austin, TX 78741-4534              Austin, TX 78768-4279



Austin Stay Operation LLC             BEST WASH, INC                     BlueCross Blueshield of Texas
1611 Airport Commerce Dr.             15012 EDDIE DRIVE                  PO Box 731428
Austin, TX 78741-4534                 HUMBLE, TX 77396-2549              Dallas, TX 75373-1428



Carbon’s Golden Malted                City of Austin                     Dyezz Surveillance
PO Box 129                            PO Box 2267                        2113 Wells Branch Pkwy Ste. 6700
Concordville, PA 19331-0128           Austin, TX 78783-2267              Austin, TX 78728-6972



EMR Elevator Inc                      Ecolab                             Ecolab Inc.
2320 Michigan Ct.                     PO Box 70343                       655 Lone Oak Drive
Arlington, TX 76016-5870              Chicago, IL 60673-0343             Eagan, MN 55121-1651



Edward Don & Company                  Enviro Air and Water               GardaWorld Security Services
2562 Paysphere Circle                 901 Westlake Dr.                   1699 South Hanley Road
Chicago, IL 60674-0001                Austin, TX 78746-4509              Suite 350
                                                                         St. Louis, MO 63144-2900


Gardaworld                            Grainger                           Granite Telecommunications
PO Box 843886                         Dept. 873194989                    PO Box 983119
Kansas City, MO 64184-3886            PO Box 419267                      Boston, MA 02298-3119
                                      Kansas City, MO 64141-6267


Gulf Coast Paper Co., Inc.            HD Supply                          Health Care Service Corporation
519 Tradesman’s Park                  PO Box 509058                      PO Box 731428
Hutto, TX 78634-4027                  San Diego, CA 92150-9058           Dallas, TX 75373-1428
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Hewlett-Packard Financial Services CoHewlett-Packard Services
                                                         10               HewlettPackard Financial Services Company
200 Connell Drive                          PO Box 402582                            Attention: Diane Morgan
Austin, TX 78741                           Atlanta, GA 30384-2582                   200 Connell Drive
                                                                                    Suite 5000
                                                                                    Berkeley Heights, NJ 07922-2816

Holiday Hospitality Franchising, LLC       Holiday Hospitality Franchising, LLC     Home Depot Pro
Three Ravinia Drive, Suite 100             c/o Alston and Bird LLP                  PO Box 844727
Atlanta, GA 30346-2121                     Attn: Leib M. Lerner                     Dallas, TX 75284-4727
                                           333 S. Hope Street, 16th Fl.
                                           Los Angeles, CA 90071-1410

Hospitality WIFI                           HotelPlanner                             Hotelengine
520 E. Montford Avenue                     PO Box 645452                            720 S. Colorado Blvd. 1050S
Ada, OH 45810-1821                         Pittsburgh, PA 15264-5252                Denver, CO 80246-1906



Humana                                     Innerworkings                            Innkeepers Communications, LLC
PO Box 3226                                7503 Solution Center                     202 Walton Way Suite 192 #131
Milwaukee, WI 53201-3226                   Chicago, IL 60677-7005                   Cedar Park, TX 78613-7046



Intercontinental Hotels Group              Johnson Controls                         Johnson Controls Fire Protection LP
PO Box 101074                              Department CH 10320                      10405 Crosspoint Blvd
Atlanta, GA 30392-1074                     Palatine, IL 60055-0320                  Indianapolis, IN 46256-3323



Jonathan Schlact                           Leon Translations, Inc                   Merchants Automotive Group, Inc
Rialto Capital Advisors, LLC               7200 Anagua Dr.                          PO Box 414438
200 S. Biscayne Blvd., Suite 3550          Austin, TX 78750-8329                    Boston, MA 02241-4438
Miami, FL 33131-2379


Michael Anthony Shaw                       Michael Law Firm, PC                     Mustang Enterprises Ltd
Jones Walker                               812 W. 11th St., Suite 301               1238 W Laurel
11 North Water Street, Suite 1200          Austin, TX 78701-2011                    San Antonio, TX 78201-6431
Mobile, AL 36602-3809


Oracle America, Inc.                       Otis Elevator Company                    Quality Elevator Inspections of Texas
c/o Shawn M. Christianson, Esq.            PO Box 730400                            PO Box 5485
Buchalter PC                               Dallas, TX 75373-0400                    Leander, TX 78645-0022
425 Market St., Suite 2900
San Francisco, CA 94105-2491

RSS COMM2015-DC1 - TX SIO, LLC             RSS COMM2015-DC1-TX SIO, LLC             RSS COMM2015-DCI - TX SIO, LLC
200 South Biscayne Boulevard, Suite 3550   c/o Stephen P Drobny, Jones Walker LLP   c/o Michael A. Shaw
Miami, FL 33131-2379                       201 S Biscayne Blvd #3000                Jones Walker LLP
                                           Miami FL 33131-4330                      811 Main Street, Suite 2900
                                                                                    Houston, TX 77002-6116

Rick’s Refills                             Ricks Refills                            Rivera Landscaping
6800 West Gate Blvd. #133                  6800 West Gate Blvd.                     8760 A Research Blvd #311
Austin, TX 78745-4868                      Suite 132 pmb 313                        Austin, TX 78758-6420
                                           Austin, TX 78745-4868
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Riverside/71 Self Storage            Royal Cup Coffee 10                  Sky Inn Operation, Inc
7320 Ben White Blvd                                  PO Box 841000                                        PO Box 18865
Austin, TX 78741-6821                                Dallas, TX 75284-1000                                Austin, TX 78760-8865



Spectrum                                             Sporttours                                           TEXAS GAS SERVICE
PO Box 60074                                         PO Box 988                                           PO BOX 401
City of Industry, CA 91716-0074                      DeKalb, IL 60115-0988                                OKLAHOMA CITY, OK 73101-0401



Team Housing                                         Texas Gas Service                                    The Comptroller of Public Accounts
1619 Common St. Suite 801                            PO Box 219913                                        Courtney J. Hull
New Braunfels, TX 78130-3460                         Kansas City, MO 64121-9913                           Assistant Attorney General
                                                                                                          Bankruptcy & Collections Division MC 008
                                                                                                          P.O. Box 12548
                                                                                                          Austin, Texas 78711-2548
Travel Incorporated                                  Traveliance                                          US Foods, Inc
4355 River Green Parkway                             PO Box 74008563                                      Box 841587
Duluth, GA 30096-2572                                Chicago, IL 60674-8563                               Dallas, TX 75284-1587



US Foods, Inc.                                       United States Trustee - AU12                         Waste Management of Texas, Inc
Brian Shaw                                           United States Trustee                                PO Box 66035
Cozen O’Connor                                       903 San Jacinto Blvd, Suite 230                      Dallas, TX 75266
123 North Wacker Drive, Suite 1800                   Austin, TX 78701-2450
Chicago, IL 60606-1770

Water Logic                                          Waterlogic USA                                       Westerwood Global
PO Box 677867                                        100 Biddle Ave., Suite 203                           1001 S. Capital of Texas Hwy
Dallas, TX 75267-7867                                Newark, DE 19702-3983                                Austin, TX 78746-6585



Windstream                                           Windstream                                           World Cinema, Inc
1450 N Center Point Rd                               PO Box 9001013                                       PO Box 733288
Hiawatha, IA 52233-1232                              Louisville, KY 40290-1013                            Dallas, TX 75373-3288



Yellow Cab Austin                                    Yumi Ice Cream                                       C. Daniel Roberts
10630 Joseph Clayton Drive, Bldg A                   PO Box 670698                                        C. Daniel Roberts & Associates, P.C.
Austin, TX 78753-3215                                Dallas, TX 75267-0698                                1602 East Cesar Chavez
                                                                                                          Austin, TX 78702-4456


Kell C. Mercer
Kell C. Mercer, P.C.
901 S MoPac Expy, Bldg 1, Suite 300
Austin, TX 78746-5883




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(d)Best Wash Inc                      End of Label Matrixof 10
15012 Eddie Drive                     Mailable recipients   84
Humble, TX 77396-2549                 Bypassed recipients    1
                                      Total                 85
